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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TENNESSEE

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KIMBERLY TERRY

                        Plaintiff,

        v.                                               Civil Action No.

DELANOR, KEMPER & ASSOCIATES, LLC,
FRANK D. WATSON AND WILTON K. CAVER

                         Defendants.
------------------------------------------------------

                                  NATURE OF ACTION

        1.      This is an action brought under the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

                             JURISDICTION AND VENUE

        2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28

U.S.C. § 1331.

        3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, (where Plaintiff resides in this district), and/or where Defendants transact

business in this district.

                                           PARTIES

        4.      Plaintiff, Kimberly Terry (“Plaintiff”), is a natural person who at all

relevant times resided in the State of Tennessee, County of Bradley, and City of

Cleveland.


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      5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

      6.     Defendant, Delanor, Kemper & Associates, LLC (“DK&A”) is an

entity who at all relevant times was engaged, by use of the mails and telephone, in

the business of attempting to collect a “debt” from Plaintiff, as defined by 15

U.S.C. §1692a(5).

      7.     Defendant, Frank D. Watson (“Watson”) is an individual who at all

relevant times was engaged, by use of the mails and telephone, in the business of

attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).

      8.     Defendant, Wilton K. Caver (“Caver”) is an individual who at all

relevant times was engaged, by use of the mails and telephone, in the business of

attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).

      9.     “Employees can be held personally liable under the FDCPA.”

Robinson v. Managed Accounts Receivable Corp., 654 F. Supp. 2d 1051, 1059

(C.D. Cal. 2009); see Schwarm v. Craighead, 552 F. Supp. 2d 1056, 1070-71

(E.D. Cal. 2008).

      10.    Furthermore, “most district courts that have addressed the issue have

held that the corporate structure does not insulate shareholders, officers, or

directors from personal liability under the FDCPA.” Schwarm v. Craighead, 552

F. Supp. 2d 1056, 1070-71 (E.D. Cal. 2008); see Kistner v. Law Offices of

Michael P. Margelefsky, L.L.C., 518 F.3d 433, 437-38 (6th Cir. 2008); del Campo

v. Kennedy, 491 F. Supp. 2d 891, 903 (N.D.Cal.2006); Brumbelow v. Law Offices

of Bennett & Deloney, P.C., 372 F.Supp.2d 615, 618-21 (D. Utah 2005); Albanese


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v. Portnoff Law Assocs., Ltd., 301 F. Supp. 2d 389, 400 (E.D. Pa. 2004); Musso v.

Seiders, 194 F.R.D. 43, 46-47 (D.Conn.1999); Brink v. First Credit Res., 57 F.

Supp. 2d 848, 861-62 (D. Ariz. 1999); Pikes v. Riddle, 38 F. Supp. 2d 639, 640

(N.D. Ill. 1998); Ditty v. CheckRite, Ltd., 973 F. Supp. 1320, 1337-38 (D. Utah

1997); Newman v. Checkrite Cal., Inc., 912 F. Supp. 1354, 1372 (E.D. Cal.1995);

Teng v. Metro. Retail Recovery Inc., 851 F. Supp. 61, 67 (E.D. N.Y. 1994).

       11.    Delanor, Kemper & Associates, LLC, Frank D. Watson and Wilton

K. Caver (“Defendants”) are “debt collectors” as defined by 15 U.S.C. § 1692a(6).

                          FACTUAL ALLEGATIONS

       12.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendants.

       13.    Plaintiff's obligation, or alleged obligation, owed or due, or asserted

to be owed or due a creditor other than Defendants, arises from a transaction in

which the money, property, insurance, or services that are the subject of the

transaction were incurred primarily for personal, family, or household purposes.

Plaintiff incurred the obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendants.

       14.    Defendants use instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

       15.    Defendants failed to provide Plaintiff with the notices required by 15


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USC § 1692g, either in the initial communication with Plaintiff, or in writing

within 5 days thereof, (§ 1692g(a)).

       16.    Defendants overshadowed the disclosures required by 15 USC §

1692g(a) during the thirty-day dispute period.

       17.    Plaintiff has never received anything in writing from the Defendants,

nor did Defendants inform her verbally of her right to dispute the debt.

       18.    Nonetheless, during its very first conversation with the Plaintiff,

Defendants demanded immediate payment of the debt. (§ 1692g(b)).

       19.    Defendants used unfair or unconscionable means against Plaintiff in

connection with an attempt to collect a debt, including withdrawing money from

Plaintiff’s bank account without authorization.

       20.    Plaintiff initially authorized Defendants to take one payment of $75

from her bank account on June 15th.

       21.    On or about June 18th, Defendants instead withdrew $150 from

Plaintiff’s bank account without her authorization to do so.

       22.    Plaintiff subsequently spoke to Defendants, and informed them that

she might be able to make an additional $75 payment the following month but that

Defendants should contact her and confirm the availability of the funds before

making a withdrawal.

       23.    Defendant did not contact Plaintiff the following month but instead

simply withdrew the funds once against without Plaintiff’s authorization.        (§

1692f)).


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         24.      Defendants used false, deceptive, or misleading representations or

means in connection with collection of a debt, including misrepresenting to

Plaintiff that Defendants were unable to utilize her checking account/routing

number to take an automatic payment because she had changed her checking

account number since incurring the debt, which was untrue (§ 1692e)).

         25.      Defendants’ actions constitute conduct highly offensive to a

reasonable person, and as a result of Defendants’ behavior Plaintiff suffered and

continues to suffer injury to Plaintiff’s feelings, personal humiliation,

embarrassment, mental aguish and/or emotional distress.

                                     COUNT I
                                 DEFENDANT DK&A

         26.      Plaintiff repeats and re-alleges each and every allegation contained

above.

         27.      Defendant violated the FDCPA as detailed above.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Adjudging that Defendant violated the FDCPA;

               b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of $1,000.00;

               c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

               d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

                  this action;

               e) Awarding Plaintiff any pre-judgment and post-judgment interest as



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                  may be allowed under the law;

               f) Awarding such other and further relief as the Court may deem just

                  and proper.

                                      COUNT II
                                 DEFENDANT WATSON

         28.      Plaintiff repeats and re-alleges each and every allegation contained

above.

         29.      Defendant violated the FDCPA as detailed above.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               g) Adjudging that Defendant violated the FDCPA;

               h) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

                  in the amount of $1,000.00;

               i) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

               j) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

                  this action;

               k) Awarding Plaintiff any pre-judgment and post-judgment interest as

                  may be allowed under the law;

               l) Awarding such other and further relief as the Court may deem just

                  and proper.

                                     COUNT II
                                 DEFENDANT CAVER

         30.      Plaintiff repeats and re-alleges each and every allegation contained

above.


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      31.      Defendant violated the FDCPA as detailed above.

      WHEREFORE, Plaintiff prays for relief and judgment, as follows:

            m) Adjudging that Defendant violated the FDCPA;

            n) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

               in the amount of $1,000.00;

            o) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

            p) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;

            q) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            r) Awarding such other and further relief as the Court may deem just

               and proper.

                                 TRIAL BY JURY

      32.             Plaintiff is entitled to and hereby demands a trial by jury.

Dated: November 9, 2010

                                    Respectfully submitted,

                                    Kimberly Terry

                                    By: /s/Craig Ehrlich
                                    Craig Ehrlich
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